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EXHIBIT
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UNITED STATES DISTRICT COURT
NORTHERN DISTRICT OF ILLINOIS

EASTERN DIVISION
ARTHUR L. LEWIS, JR.; et al., )
) No. 98 C 5596
Plaintiffs, )
) Judge Joan B. Gottschall
v. )
) Magistrate Judge Ian H. Levin
CITY OF CHICAGO, )
)
Defendant. )

INJUNCTIVE ORDER OF RELIEF

On March 22, 2005, the Court entered a judgment of liability against the City of Chicago
and in favor of plaintiffs after holding, in a memorandum opinion the findings of which shall be
incorporated herein, that the City’s use of its 1995 Firefighter Test with a cut-off score of 89 had
a disparate impact on African American candidates, had not been shown to be job-related or
consistent with business necessity, was a manifest violation of Title VII and, further, that random
selection of candidates with scores of 65 and above to advance to the next steps of the hiring
process would have been both an equally valid and less discriminatory alternative.

Resolution of the claims in this case now requires specification and implementation of
the remedial relief to be provided to plaintiffs for the City’s violation of Title VII.

NOW, THEREFORE, IT IS HEREBY ORDERED THAT the City provide the relief set
forth below, in accordance with the terms set forth below:

A. Rightful Place Hiring

1. Eligibility. Within ten days after the entry of this Order, a database shall be

created containing the names of all members of the class who either have not yet advanced to

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subsequent steps in the selection process that follow the 1995 Test or, having advanced, have not
yet been offered a position at the Quinn Fire Academy and have not been disqualified at any
subsequent step of pre-employment screening (i.e., by failing the background check, the physical
abilities test, the drug screen or the medical examination).

2. Lottery. Within 20 days after the entry of this Order, the names entered into the
database (referred to in paragraph A1, above) shall be placed on an eligibility list in random
order, using a software application intended for that purpose. The random ordering of the names
shall be performed by, and on a computer owned by, an outside party that is not an agent of the
City.

3, Offers to Class Members to Advance to the Next Steps of the Hiring Process.

Within 30 days after entry of this Order, the City shall extend offers to class members to advance
to the remaining steps of the entry-level firefighter hiring process (consisting of the physical
abilities test, background investigation, drug screen and medical examination) — beginning with
the first name on the randomized list created by the lottery process (referred to in paragraph A2
above) and thereafter proceeding in rank order down the list. These offers shall be made by first-
class certified mail. The City shall, with the approval of plaintiffs’ counsel, employ a skip
tracing service to update class members’ address information before offers to advance to the next
steps of the hiring process are mailed, rather than simply relying on addresses provided by class
members in 1995 at the time they registered for the 1995 Firefighter Test. The City shall
continue extending offers to class members to advance to the next steps of the hiring process
until there exists a pool of at least 132 class members who have undergone and passed all steps

of the City’s pre-employment screening for firefighters. All pre-employment screening of class
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members shall be completed within 120 days after entry of this Order.

4. Offers of Employment. Within 130 days after entry of this Order, the first 132

class members to undergo the background investigation, physical abilities test, drug screen and
medical examination and to pass all of them shall be offered employment by the City as Chicago
Fire Department (“CFD”) candidate firefighters at the Quinn Fire Academy (“the Academy”).
The City shall continue making offers of employment to class members pursuant to this Order
until 132 class members have accepted such offers.

5. Timing of Entry into the Academy. All class members hired pursuant to
paragraph A4 of this Order shall enter the Academy within 24 months of the entry of this Order.

6. No Prejudice to Other Hiring Opportunities. AIl class members not offered

employment by the City as CFD candidate firefighters at the Quinn Fire Academy pursuant to
paragraph A4 of this Order, and who have not been disqualified by the City from advancing in
the selection process (i.e., by failing the background check, the physical abilities, the drug screen
or the medical examination or by failing to report for any of these after being invited to do so),
shall continue to compete for positions at the Quinn Fire Academy on the same basis as all other
eligible persons with scores between 65 and 88 on the 1995 Firefighter Test. Nothing in this
Order shall in any way affect or prejudice class members’ rights to be considered for
employment with the CFD as part of the City’s ongoing hiring of firefighters by random
selection from the pool of persons with scores of 65 through 88 on the 1995 Firefighter Test.

7. Pre-Employment Screening: “Candidate Interest Cards”. From the date of entry
of this Order, class members shall be permitted to return “Candidate Interest Cards” by mail.

B. Retroactive Seniority

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1, Award of both “Competitive” and “Benefits” Seniority. As used in this Order,

“retroactive seniority” shall mean crediting of seniority for all purposes for which seniority is
used in the CFD.

2. Constructive Seniority Date. Any class member hired pursuant to the terms of

this Order shall be entitled, after completion of the contractual nine-month probationary period
of employment, to retroactive seniority credit dating back to December 4, 1998.

3 Eligibility for Promotion to the Rank of Engineer or Lieutenant. For purposes of
Section 9.3 of the current Labor Contract (July 1, 1999 to June 30, 2007), or any successor
provision, class members hired pursuant to this Order shall, subject to passing an appropriate
promotional exam, be eligible for promotion to the position of Engineer or Lieutenant within 30
months after graduation from the Academy. Appropriate promotional examinations for the
position of Engineer and Lieutenant shall be offered and administered no sooner than 18 months
but no later than 28 months after class members hired pursuant to this Order graduate from the
Academy. In all other regards, class members hired under this Order shall be treated, for any
purpose for which seniority is considered, as if they had been hired on December 4, 1998,
including but not limited to receiving salary and vacation at the same level as the salary and
vacation they would be receiving if they had been hired on that date.

4 Compensation for Delayed Promotions to the Rank of Engineer or Lieutenant.
Any class member who is promoted to the position of Engineer or Lieutenant from the first
eligibility list generated by exams scheduled pursuant to paragraph B3 of this Order shall, upon
promotion, receive salary and benefits commensurate with having been promoted 12 months

sooner.
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C. Back Pay

1, Back Pay. Within 30 days of the entry of this Order, the City shall pay to an
interest-bearing escrow account opened by plaintiffs’ counsel (‘the Escrow Account”) the sum of
$22,778,533. When the date(s) upon which members of the shortfall group will enter the
Academy have been determined, the City shall make an additional payment into the Escrow
Account to account for: (a) the wage increase from the collective bargaining agreement
reopener in 2006 and any other intervening increase(s) in wages or benefits; and (b) additional
back pay owed to members of the shortfall group from the period from August 4, 2006 through
their entry into the Academy.

2. Funding of Pension, And Any Other Applicable Benefits Plans and Programs.

Back to Retroactive Seniority Date. On or before the date of hire of any class member pursuant

to paragraph A4 of this Order, the City shall make payments to fund each relevant benefits
policy, plan or program (including all those set forth or referenced in Article XII of the Labor
Contract between the City of Chicago and Chicago Firefighters Union Local No. 2) in order to
provide that class member, and his or her family, with the same level of fringe benefits as if the
class member had been hired on December 4, 1998. If necessary, the Court will direct the
Board of Trustees of the Firemen’s Annuity & Benefit Fund to accept contributions by the City
to fund benefits.

3. Distribution of Back Pay Amounts to the Class. No funds shall be distributed

from the Escrow Account established pursuant to Paragraph C1, above, without prior order of
Court. Upon approval by the Court, funds from the Escrow Account shall be distributed as

follows:
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a. Payments to Retroactively Fund the Employee-Portion of Pension (and/or

similar) Contributions Owed by Class Members Hired Pursuant to Paragraph A4 of this Order.

Amounts shall be deducted and paid from the Escrow Account sufficient to relieve persons hired

pursuant to paragraph A4 of this Order of the burden of making out-of-pocket payments to
retroactively fund their employee-portion of pension contributions (and/or other amounts due as
payments from them to retroactively fund other benefit policies, programs or plans).

b. Distribution of Remaining Funds to Eligible Class Members Who Do Not

Receive Job Offers. The remainder of funds in the Escrow Account shall be distributed in equal

shares to eligible class members (as defined in paragraph A1 of this Order) who: (a) do not
receive job offers pursuant to paragraph A4 of this Order and (b) have filed a valid claim form
pursuant to paragraph C4 of this Order (below).
C. Surplus Funds. If, after distribution of funds pursuant to paragraph C3 (a
& b), above, funds remain in the Escrow Account, these shall be paid to the African American
Firefighters League for use in recruiting African Americans to apply for positions within the
Chicago Fire Department, training African Americans for CFD examinations, and/or renting or
purchasing a facility in which to train African Americans for CFD examinations.
4. Claims Process/Claims Forms. Within 30 days of acceptance of job offers by
132
class members pursuant to paragraph A4 of this Order, the City shall send, by certified mail
(return receipt requested), using the most current available addresses, as specified in paragraph
A3 above, to all other eligible class members (as defined in paragraph A1 of this Order), a claim

form, in a format developed by plaintiffs’ counsel and approved by the Court. Simultaneously,
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the City shall also publish the claims form in the Chicago Tribune and the Chicago Sun-Times.
The City shall bear the cost of all mailing printing and publication and any other associated
expenses. Claims forms must be returned by eligible class members to plaintiffs’ counsel by
first class mail, postmarked no later than 30 days from the date of their mailing by the City. Any
eligible class member who does not return a claims form within that period shall be deemed to
have waived any right to be considered for an award of remedial relief under this Order.

D. Reporting and Monitoring

I Reporting Requirements During Academy Training. The City shall notify

Matthew J. Piers, as class counsel, of the grades received by every plaintiff class member
entering the Academy pursuant to paragraph A4 of this Order, during every week of each class
member’s training at the Academy. The notification shall be in writing. In order to make it
possible to evaluate plaintiff class members’ standing relative to others at the Academy, the
notification shall also include the grades (but need not include the names) received by any
candidates at the Academy at the same time who are not members of the shortfall group.

2. Monitoring During Academy Training. A current or retired incumbent firefighter
member of the plaintiff African American Firefighters League shall be recommended by class
counsel and approved by the Court to monitor classroom instruction and to serve as an
ombudsman for class members during their time at the Academy. All costs of such monitoring,
including salary for the monitor, shall be borne by the City. Further specifics of the monitoring
shall be the subject of a supplemental order of the Court.

E. Prejudgment Interest

All monetary relief provided to class members pursuant to this Order shall be awarded
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with compound prejudgment interest at the prime rate.

F, Postjudgment Interest

All monetary relief provided to class members pursuant to this Order shall be awarded
with postjudgment interest.

G. Attorney’s Fees and Expenses

As prevailing parties, plaintiffs are entitled to an award of attorney’s fees and expenses
pursuant to 42 U.S.C. § 1988, including expert fees. 42 U.S.C. § 2000e-5(k). The parties shall
attempt to agree upon the amount of an award pursuant to Local Rule 54.3(d) before a fee
motion is filed. Plaintiffs shall also be entitled to an award of fee and costs for monitoring and
implementation of this Order after its entry.

G. Retention of Jurisdiction

The Court shall retain jurisdiction of this action for all purposes, including but not limited

to matters of construction, implementation and enforcement of the terms of this Order.

APPROVED and ORDERED this day of , 2007.

UNITED STATES DISTRICT JUDGE
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, Case: 1:98-cv-05596 Document #: 375-2 Filed: 12/19/06 Page 11 of 34 PagelD #:2443

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IN THE UNITED STATES DISTRICT COURT
NORTHERN DISTRICT OF ILLINOIS
EASTERN DIVISION

ARTHUR L. LEWIS, JR.; GREGORY S.)
FOSTER, JR.; ARTHUR C. )
CHARLESTON, III; PAMELA B. ADAMS)
WILLIAM R. MUZZALL; PHILIPPE H.
VICTOR; CRAWFORD M. SMITH;
ALDRON R. REED, and
-AFRICAN-AMERICAN FIRE FIGHTERS
LEAGUE OF CHICAGO, INC.,
individually. and on behalf of
all others similarly situated,

Plaintiffs,
vs. No. 93 C 5596

CITY OF CHICAGO,

Defendant.

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The deposition of MARK ALLEN NIELSEN,
called by the Plaintiffs for examination, pursuant
to notice and pursuant to the Federal Rules of
Civil Procedure for the United States District
Courts pertaining to the taking of depositions,
taken before Susan M. Reed, Certified Shorthand
Reporter for the State of Illinois, at 70 West
Madison Street, Suite 4000, Chicago, Illinois, at
10:30 o'clock A.M., on the 30th day of October,

A.D., 2006.

BAKER, FENNELL & ASSOCIATES, INC.
CERTIFIED SHORTHAND REPORTERS
P.O. BOX 0787
Chicago, IL 60690
312-386-1225 FAX: 312-386-1226

REPORTEDBY: Susan M. Reedg CSR EXHIBIT

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“PAGE: 2

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AY

Q. Were you hired during the strike?

A. Yes, sir.

Q. Did you have to take an entry exam?

A. Absolutely.

Q. When you came out of the Academy, where
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.. PAGE 3
3
1 APPEARANCE S: 1 INDEX
2 oo, , 2
. . HUGHES, SOCOL, PIERS, RESNICK & DYM, LTD. WITNESS:
3 BY: MR. JOSHUA KARSH 3
70.West Madison Street, Suite 4000 MARK ALLEN NIELSEN
“4 Chicago, Illinois 60602 4 .
312/580-0100. Examination by Mr. Karsh 4
5 appeared on behalf of the Plaintif£; 5 Examination by Ms. Harper 147
Further Examination by Mr. Karsh 150
6 : : 6 Examination by Mr. Horwitz 152
MS. NAOMI AVENDANO Further Examination by Ms. Harper 155
7 1676 West Webster 7 Further Examination by Mr. Karsh 157
Chicago, Illinois 60614
8 773/281-8460 8
9 and 9 EXHIBITS:
10 MS. VALERIE DEPIES HARPER 10
ASSISTANT CORPORATION COUNSEL
ail DEPARTMENT OF LAW, EMPLOYMENT LITIGATION 11 Nielsen Deposition Exhibit Nos. 1 4
DIVISION and 2
12 30 North LaSalle Street, Suite 1020 12 Nielsen Deposition Exhibit No. 1 12
Chicage, Illinois 60602 Nielsen Deposition Exhibit No. 2 14
13 312/744-5123 13 Nielsen Deposition Exhibit No. 3 28
appeared on behalf of the Defendant; Nielsen Deposition Exhibit No. 4 95
14 14
15 MR. STEPHEN B. HORWITZ 15 * * * * * *
SUGARMAN & HORWITZ
16 “"221 North LaSalle Street, Suite 626 16
Chicago, Illinois 60601
17 312/629-2920 17
appeared on behalf of Intervenor Defendant,
18 Chicago Firefighters Union, Local 2 18
19 19
20 ALSO PRESENT: 20
21 Mr. Bzra McCann 21
22 22
23 * * * *”- 23
24 24
BAKER, FENNELL & ASSOCIATES (312) 386-1225 BAKER, FENNELL & ASSOCIATES (312) 386-1225
——. PAGE 4 —— PAGE 5
5
ai (10:45 a.m.) L Gid you go? I'm going to take your through your
2 (Witness sworn.) 2 job history from then to now.
3 (Nielsen Deposition Exhibit Nos. 1 3 A. Engine 44, which was located at 3138 West
4 and 2 were so marked.) 4 Lake Street.
5 WHEREUPON: 5 Q. How long were you there?
6 MARK ALLEN NIELSEN 6 A. I was there for six years, a little more
7 called as a witness herein, having been first duly .7 than six years. We changed locations, but it was
8 sworn, was examined upon oral interrogatories and 8 the same assignment. We had a new house built for
9 testified as follows: 9 us in that time, which is at 412 North Kedzie.
10 EXAMINATION 10 Q. During that time period did you take any
promotional exams, engineer, lieutenant?
A. Engineer.
Q. Bo you remember when you took that exam?
A. It was in '85. I don't remember the

exact date. I remember when I received a

promotion. That's when I left there. June 16 of
‘86 I was promoted to the rank of engineer.
Q. Did you take a lieutenant's exam at all

during that period?

A. Yes.

Q. When did you take that exam?

A. I want to say it was in ‘86, '87.

Q. Okay. When you left Lake Street, where
did you go next or I should -- I don't -- not at

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PAGE 27
26 [ 27
1 Q. Does the City have any objection to the 1 answer because the City has already made a
2 relief requested in paragraph DS of Exhibit 2? 2 position; and he has not spokesman as to that
3 THE WITNESS: I can answer? 3 legal issue; and this calls for a legal
4 MS. HARPER: Yes. The City notes that it || 4 conclusion. So the City is reaffirming its court
5 has made a formal position in response to this 5 filing.
6 document. 6 MR. KARSH: You can move to strike
7 , MR. KARSH: That's fine. 7 anything you want, and the court will rule. That
8 BY THE WITNESS: 8 is a subject which you just listed he is
9 A. No. 9 testifying on today.
10 Q. City has no objection, okay. 10 MS. AVENDANO: Yes, and we also
11 Let's take a break. I request that ]|11 specifically listed it as to him testifying why
12 you not speak to the witness during the break 12 monitoring in the Academy of their progress is not
13 because cross examination is still ongoing. Okay? | {13 necessary. That's what we designated him for.
14 Yes? 14 MR. KARSH: Okay.
15 MS. HARPER: Well, please wait. 15 MS. AVENDANO: If you choose not to take
16 (Discussion had off the record 16 that testimony, that's fine.
17 between counsel for the City.) 17 MR. KARSH; 1 asked him whether he had an
18 MS. HARPER: We're going to ask the 18 objection --
19 witness to leave then, and we want to say 19 MS, AVENDANO: We're moving to strike
20 something on the record. We'll be right out to 20 that --
21 get you. 21 MR. KARSH: Okay, we're going to take a
22 MR. KARSH: That's fine. 22 break. I would like you to not to talk to the
23 (Exit Mr. Nielsen.) 23 witness during the break as cross-examination is
24 MS. HARPER: We're moving to strike that {/24 still ongoing.
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— PAGE 28 —— PAGE 29
, 28 29
1 MS. HARPER: That's fine. How long is 1 A. Okay.
2 the break going to be? 2 Q. Can you tell me what are the City's
3 MR. KARSH: Five minutes. 3 reasons for objecting to plaintiff's calculation
4 (Whereupon a recess was taken at 4 of mitigation earnings?
5 11:15 a.m. until 11:25 a.m.) 5 MS. HARPER: I'm going to object to form
Aes. irk.thi 6 and to the extent it calls for a legal conclusion
7 and that this witness has not been called -- or
. was: somarked®) a ST 8 has not been designated as a Rule 30(b)(6) as to
9 MS. HARPER: I wanted to make clear I had || 9 this question; and I instruct him not to answer.
10 made my objection on the record to form and to the |{10 BY MR. KARSH:
id extent it calls for a legal conclusion as to the 11 Q. Very well.
12 last question. 12 Sir, can you tell me anything about
13 MR. KARSH: Okay. 13 the factual basis for the statements the City
14. BY MR. KARSH: 14 makes in the two paragraphs under the heading
15 Q. Mr. Nielsen, have you ever seen 15 mitigation?
16 Deposition Exhibit No. 3 before? 16 MS. HARPER: Objection. Form and to the
17 A. No. 17 extent it calls for a legal conclusion. You may
18 Q. If you would, sir, please turn to page 8 18 answer.
19 of Deposition Exhibit No. 3, and there is a 19 BY THE WITNESS:
20 heading there that says Mitigation. Could you 20 A. Could you repeat the question?
21 read to yourself please the two paragraphs under 21 Q. Yes. Can you tell me anything about the
22 that heading? 22 factual basis for the statements the City makes in
23 A. Okay. 23 these two paragraphs?
24 (Witness peruses document.) 24 A. No, I cannot.

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“PAGE 30°

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31

foundation, to the extent it calls for.alegal
nt, speaks for itself.

Do you know a student at the Academy
named Aaron Murdock?

A. Yes. I'm sorry, an instructor.

Q. Excuse me, an instructor at the Academy
named Aaron Murdock?

A. Yes.

Q. Are you aware of his having told
candidates that they should not attend EMT
remedial classes being offered by the
African-American Firefighters League?

A. Iam, yes.

Q. What do you know about that subject?

A. I know that there was study groups that
had been set up to try to prepare students for the
national exam or tests that are given in the
Academy; and I believe the basis for his statement
is the fact that the candidates may be misdirected
with bad information, if you will.

Q. Did you instruct him to give that
instruction to candidates?

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__. PAGE ‘32

A. No.

Q. Were you aware that he was going to give
that instruction before he gave it?

A. No,

Q. How did you find ovt about it?

A. Through another instructor actually.
Aaron Murdock is actually under John McKillip's
command who is my counterpart on the EMS side, but
I heard that individuals were told to steer aware
from these classes because they're not good
information,

Q. Was that Aaron Murdock freelancing, or
was he making that statement with authority from
someone else?

MS. HARPER:
foundation,
BY THE WITNESS:

A. I'm not sure.

Q. Are you aware of anyone having approved
his giving those instructions before they were
given?

A. No.

Q. Was any action taken with respect to him
after he gave those instructions?

Objection. Form,

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ODF GW wewAIRAT UO &® WHF OO OATH WO mW YP

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33

MS. HARPER:
foundation.
BY THE WITNESS:

A. No.

Q. Do you know what basis, if any, he had
for feeling that people might be misdirected?

A. No.

Q. Do you have any basis for thinking that
people were being misdirected by remedial classes
being given by the firefighters league?

A. No.

MS. HARPER: Objection.
give me one second to object.
THE WITNESS: Okay.
BY MR. KARSH:

Q. What do you know about the remedial
classes that were being given by the firefighters
league?

A. Also nothing. I knew -- we had heard the
location. We had passed the location along to the
candidates in the class if they wanted to attend,
and that's about it.

Q. How did you pass along the information
about the location to candidates in the class?

Objection. Form,

Form. Sorry,

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Q. Spoken to either one on the telephone
prior to this morning?

A. Yes.

Q. How many times had you spoken with them
on the telephone?

A. Just once.

Q. Was that merely to set up a date and

time?
A. No --

MS. HARPER: Okay, you don't have to
discuss any further of the content of that
conversation,

BY MR. KARSH:

Q. How long did you meet this morning?

A. I'm guessing an hour and a half.

Q. And how long was the prior telephone
conversation?

A. Maybe a half hour.

been

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_ BY MR. KARSH: 1 MS, HARPER: Okay. All right.
- Q.. What did you do to prepare for today's 2 (Document tendered to counsel.)
session? 3 MR. KARSH: I'd like to break for a
MS. HARPER: You can answer except for 4 minute and make copies of this, and we'll make it
you cannot discuss the content of our 5 an exhibit.
communications. 6 MS. HARPER: Okay. What's your plan?
BY THE WITNESS: 7 MR. KARSH: I think we have between 45
A. I wrote some notes earlier this morning 8 and 60 minutes more.
in regard to what our training consists of in the 9 (Whereupon a recess was taken at
subject areas that are covered. 10 12:35 p.m. and 12:45 p.m.)
Q. And did you use those notes to refresh 11 MR, KARSH: ‘This will be 4.
your recollection before you came to testify 12 (Nielsen Deposition Exhibit No. 4
today? 13 was so marked.)
A. Yes. 14 BY MR. KARSH:
MR. KARSH: I'd ask for production of 15 Q. Did you meet with counsel in preparation
those-notes please. 16 for today's session?
Could I see the notes? Do you have ||17 A. Yes.
them with you? 18 Q. When?
BY THE WITNESS: 18 A. This morning.
A. Yes. 20 Q. Had you met with them prior to this
MS. HARPER: Before you open them, did 21 morning?
you write any notations on there -- 22 A. No.
THE WITNESS: Would you like to see? I 23 Q. Had you ever met either one of them prior
don't believe so. 24 to this morning?
BAKER, FENNELL & ASSOCIATES (312) 386-1225 BAKER, FENNELL & ASSOCIATES (312) 386-1225
+. PAGE 96 __ PAGE 97
96 97
A. No. 2. ... holidays -that.'oc

“the candida
A. ~ Fifteen: weeks: is-just:

Q. Just suppression.

A. The part that we have them for, yes.

Q Okay.

A. ‘There's 21 subjects covered by the state
fire marshal's office. You can see them listed

Q. Yes.

A. You don't want me to read them; do you?
Q. No, but if you could tell me what PPE is?
A, That's personal protective equipment.

Q Okay.

A. Just the fire gear that firefighters
wear. It's actually combined with safety.

Usually it’s PPE/safety. There are nine
certifications that a candidate receives upon
graduation. That includes EMT and firefighter 2.
The hazmat awareness and --

Q. Is there a hazmat test for certification?
A. Test, yes, there's a state exam.

Q. State exam.

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“PAGE 110 PAGE 111
fie 110 , 111
“ple A.. ‘An ambulance, a fire engine. 1 water department, police department, fire
2 Q. Any of the vehicles that -- 2 department and so forth. It covers --
3 A. Yes. 3 Q. This isn't just the feds saying when
4 Q.. Is there an independent license, like a 4 we're on the scene you do what we say?
5 CDL that people have to have for that? 5 A. Maybe so.
6 A. No, they do not need a CDL. They do need |] 6 Q. Okay.
7 a non-CDL B to drive an engine or a truck, but 7 A. But that's an online course. The time
8 what we utilize for driving is an ambulance 8 varies. It's usually only about a two- or
9 because that's what they're going to drive when 9 three-hour course.
10 they're released from the Academy. We use 10 Q. Required certification?
li ambulances. So they're not certified on an engine ||11 A. We tell the candidates it's required; but
12 or a truck, but they're taught how to respond in 12 we haven't failed anyone yet; and it! S a new
13 an emergency vehicle. 13 certification.
14 Q. And I apologize if I already asked this, 14 Q. Do you track whether they take it or not?
15 is FSVO a required certification? 15 A. Wedo. We require them to produce a
16 A; It is not. 16 certificate that's printed from the online study,
17 Q. NIMS, what is NIMS? 17 and this is actually the first candidate class
18 A. NIMS is the National Incident Management ||18 that will graduate since it's been required. So
19 System, and it's a course -- it's an online course |}19 I've got about half of them right now with
20 that's offered by PEMA. 20 certificates. The other half have not produced
21 Q. What does it cover? 21 them yet.
22 A. Well, it covers unit of command and 22 Q.. Is the substance of that course basically
23 incident command. The emphasis of the class is 23 communications between different agencies and
24 that different agencies can work together as one, 24 chain of command when different agencies are on
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1 the scene? 1 A. It's an awareness, how especially ENT's
2 A. It kind of displays how different 2 should deal with a person in a wheelchair, not
3 agencies should work together. 3 talk down to them, come to their level when you
4 Q. The last certification you have there is 4 talk to them, that kind of thing. It's just a
5 ethics. Is that required? 5 two-hour class.
6 A. Yes, it's required by our City. 6 Q. Do you cover epilepsy in that sequence?
7 MS. HARPER: I passed. 7 A. I don't believe so. No, it's mostly
8 BY MR. KARSH: 8 people in wheelchairs and with physical
9 Q. What does it cover? 9 disabilities.
10 A. What does it cover? 10 Q. Sexual harassment is how many hours?
11 Q. Is it the same exam that all City 11 A. That's an hour-and-a-half, two-hour
12 employees take? 12 class
13 A. Yes. 13 _Q. Is | there a racism course?.. Ragial. oo.
14 Q. What does it cover? Wd i oes nae
15 A. It covers what's proper and not proper 15
16 insofar as taking gifts from individuals. Off the |j16 the.
7 top of my head, I can't think of anymore. It's }17_—shara
18 about an hour online or it's a 20-minute, 20, 18s defi
19 25-minute videotape, which is how we train our 19 wsdl
20 candidates. 120. all?
21 Q. Citizens with disabilities awareness is ||21) 00. “asked and”
22 not a certification? 22 :
23 A. No. 23: Be oa
24 Q. But it is -- 2d: e harassment class I think © <0.
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41 A. Yes.
2 Q. During those 26 years, have you had any
3 instruction on racial awareness or diversity
4 issues?
5 A. Yes. Yes, we had diversity training at
6 Q. Are you familiar with the ?ri-Data 6 the Fire Academy when I was a battalion chief; but
1 ‘report? 7 it was offered to everyone in the field.
8 A. Yes. 8 Q. Was it mandatory or voluntary?
9 Q. Are you familiar with sections of the 9 A. Mandatory, as far as I know.
10 Tri-Data report that discuss race relations within |110 Q. What was covered in that training?
11 the department? 11 A. How we should treat each other as equals
12 A. Not really, no. 12 and not harass anyone based on race, religion,
13 Q. Are there -- is there anything from the 13 creed.
14 Tri-Data report that to your knowledge has been 14 Q. How many hours was that training?
15 introduced into the Academy? 15 A. I believe it was four. It was awhile
16 Ay Well, the training schedule, which 16 ago. I think it was a half day.
17 overlaps training classes, academies, was 17 Q. How many years ago?
18 something that was recommended and something that ||18 A. About ten.
19 we have adhered to. Training is pretty much 19 Q. Is there any renewal or continuing
20 nonstop. The classes are smaller and then they 20 education on that within the department required?
al overlap one another so that there's a more 21 A. Not to my knowledge, no.
22 constant feed to the Academy with fresh people. 22 Q. What segment of the department was
23 Q. You've been in the department for 26 23 required to attend?
24 years; is that right? 24 A, As far as I know, everyone.
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116 117
1 Q. Everyone in the department? 1 Q. Has there, to your knowledge, ever been
2 A. I believe so. 2 consideration of proposing such a requirement?
3 Q. Was that triggered by any particular 3 A. Yes, I think the closest thing we've come
4 incident in the department? 4 to that is our recent physical fitness incentive
5 MS. HARPER: Objection. Form, 5 program that we have that offers a monetary amount
6 foundation. 6 of 350 for anyone that can do the mile and a half
7 BY THE WITNESS: 7 run in a certain amount of time and a certain
8 A. Not that I recall. 8 amount of sit-ups, sit and reach and a bench press
9 Q. The next thing you have listed there is 9 based on gender and age.
10 medical legal. What are trainees taught about 10 Q. Are you familiar with any general orders
li that? 11 in the department on the subject of race or
12 A. We have some attorneys speak to the 12 discrimination?
13 candidates about specific lawsuits that have 13 A. Just a discrimination order per se.
14 stemmed from medical runs, from EMS runs; and they |{14 Q. Is that discrimination order a subject of
15 discuss how they can avoid such litigation, mainly | 15 instruction at the Academy?
16 by documentation. 16 A. Yes. In fact, while they're at Academy
17 Q. ° Having been in some of that litigation, 17 South, that's when the candidates are first issued
18 documentation is good. 18 general orders, specia) directives and department
19 PT is physical training; is that 19 memos,
20 right? 20 Q. Yes.
21 A. Yes. 21 A, And they are periodically quizzed on the
22 Q. Is there any PT requirement for members 22 contents of those orders and special directives.
23 in the field after graduation from the Academy? 23 Q. Do you know anything else about any
24 A. No. 24 instruction on a general order on discrimination
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od there was two firefighters in New York that died 1 instance, forcible entry class and he or she
2 in a similar situation. 2 really needs it, we would make an effort to do it
3 - So we try to mimic these situations 3 again. But it's done before and after. When it
4 and have them work through the problem. when they || 4 gets close to them taking the firefighter 2 exam,
5 get entangled -- and it's inevitable that they 5 that's when we begin offering the remedial
6 will get entangled -- we try to coach them through |} 6 training.
1 it, and eventually they make it through on their 7 Q. I think I'm not following.
8 own; and, obviously, it's with a blacked-out face 8 A. You're talking about EMT?
9 piece to mimic a smoke condition. 9 Q. No, I'm talking about fire suppression.
10 Oh, the physical fitness part of it, |/10 I'll ask you about EMT next.
11 we have two individuals that are physical fitness |/1i A. Okay.
12 trainers; and if there's a need for a specific 12 Q. In fire suppression are you talking about
13 program, whether it be diet, specific exercises or ||13 two things, there are make-up classes if you miss
14 a combination of both, that's introduced to them 14 one?
15 early on so that they can lose weight if that's an ||15 A. No, remedial.
16 approgriate measure or work on their 16 Q. ‘Typically, am I understanding you
17 cardiovascular needs. 1) correctly that there's one remedial session for
18 Q. If you're successful with that, you 18 each subject --
19 should market it. 19 A. Subject area.
20 A. Yeah. 20 Q.  -- in the curriculum?
21 Q. How often do the remedial classes meet? 21 A. Like all the 21 subject areas that are
22 A. On average we probably cover each subject ||22 listed. Really it's 20 subject areas because we
23 area just once. So if a candidate ever came to me ||23 combine PPE and safety because they're relatively
24 and said he or she was unable to make, for 24 short.
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1 Q. How long is that remedial session? 1 of instilled in each group that we need to make a
2 A. They have -- usually about an hour and a 2 combined effort for everyone to get through it.
3 half. 3 Q. How do you instill that?
4 Q. Per subject? 4 A. Well, by teaching them teamwork. You
5 A. Per subject. 5 know, the fire department's foundation is
6 Q. And then is there a separate kind of 6 teamwork. And if someone in group one fails, it's
7 remedial session that happens as you approach the 7 group one fails is how we instill that.
8 firefighter 2 exam? 8 Q. There is some research that suggests that
9 A. ‘This would be it. 9 the primary skill needed for fire service is the
10 Q. ‘This would be it? 10 capacity for teamwork. Would you agree or
11 A. Yes. 11 disagree with that?
12 Q. Is there any other form of remedial 12 A. I would agree.
13 instruction that occurs? 13 Q. Anything else that you have not discussed
14 A.  I£ an individual is struggling early on 14 that goes into the rubric of the efforts you take
15 with the topic, we would certainly sit down and 15 to make sure that the candidates succeed at the
16 help them out; and we make it available to them or |)16 Academy?
17 known to them if there's a need to go over 17 MS, HARPER: Objection. Form.
18 material, for instance, we might have an 18 BY THE WITNESS:
19 instructor stay after class and they can meet with ||19 A. No.
20 him or her to go over som 20 Qe The: third subject. on which I have. been
21 Q. You rely a little on their initiative to |}21 d that
22 get --
23 A. Sure. They also get a lot of support
24 from their peers too, and the peers -- it's kind
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1 BY THE WITNESS:
2 A. Firefighters that leave the Academy now
3 can, perhaps, be detailed -- will be detailed to a
4 BLS ambulance, They'll respond to such incidents
5 that are determined by the office of
6 communications, OEMC; and they'll make
7 determinations as to the severity of -- they'll do
8 a patient assessment, determine the severity of
9 the problem and upgrade accordingly. They'll make
10 upgrades, do such skills as inserting airways,
ii administering oxygen, utilizing an automated
12 defibrillator, utilizing communication skills with
13 the resource hospital and relaying what they see
vo dd to the physician on the other end.
nitor being-at-the’ .°]115 They may find themselves on an ALS
§ -°. Keadeny; I-would actually encourage it. - «1146 engine, which means that they would have a
17 Q. The fourth subject on which I've been 17 paramedic and an EMT with them; and they would be
18 told that you will testify at trial are the duties |/18 charged with administering advanced life support
19 and activities and responsibilities of 19 to a victim, whether that be a car accident victim
20 firefighters. What testimony do you have to offer | |20 or heart attack victim; but Chat EMT would need to
21 on that subject? a1 be proficient in some of the skills that a
22 A. Well -- 22 paramedic would be able to do such as setting up
23 MS. HARPER: Objection. Form. 23 an IV, preparing an injectable drug for injection,
24 24 that kind of thing. That's about 70 percent of
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1 what we do nowadays, EMS related. 1 be ordered to search a room, an area, an
2 Then the other portion what they 2 apartment, hopefully with a partner but not
3 would be expected to do is check out their 3 always. They may even be positioned in a
4 apparatus on a daily basis, inventory that 4 stairwell just to assist victims down an
5 apparatus. They'd be responsible for cleaning and || 5 evacuation stairwell. They may be ordered to
6 maintaining company quarters. They would report 6 communicate with the residents of a high-rise to
7 directly to a company officer; and at the scene of |} 7 inform the residents what's going on, that we're
8 a fire, depending on if they're assigned to an 8 investigating a fire, that we have a fire, that
9 engine or a truck, they would be responsible for 9 the residents should remain in place, that the
10 securing a positive source of water; in some cases ||10 residents should evacuate, whatever the case may
11 laying out a hose line, in many cases by 11 be.
12 themselves to either protect an exposure or for an |/12 They may be ordered to assist ina
13 interior attack. They would be responsible for 13 rescue effort. You might have a worker in a
14 conducting interior searches of a structure, 14 trench, They may be the only EMT on the scene in
15 looking for victims, responsible for raising 15 certain situations where they would have to
16 ground ladders. They would be responsible for 16 administer oxygen to that person, maybe go down
17 ventilation, whether that be horizontal or 17 into the trench and make an initial assessment of
18 rooftop. 18 what's wrong with him or her. They could be
19 On the hazmat end, they may respond |}19 involved with a rope rescue, a high-angle rescue,
20 to a hazardous material incident; and they may be ||20 confined space. The list goes on.
21 given a duty to assist in decon, assist in 21 Q. Are these all areas in which you hope to
22 pre-entry for the hazmat team. They might be 22 have trained people at the Academy?
23 ordered to begin evacuation of an area. 23 A. At least in the awareness level, so they
24 At a high-rise building, they could ||24 know at least as much to stay away from it if it's
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IN THE UNITED STATES DISTRICT COURT
FOR THE NORTHERN DISTRICT OF ILLINOIS
EASTERN DIVISION
“ARTHUR L. LEWIS, JR., et al.,
Plaintiffs,

Hon. Joan B.

Gottschall

)
)
)
. )
vs. ) No. 98 C 5596
)
CITY OF CHICAGO, )
)
)

Defendant.

The deposition of MARC McDERMOTT, called by
the plaintiffs for examination, pursuant to notice
and pursuant to Federal Rule of Civil Procedure
30(b) (6), taken before Kayla A. Paetsch, Certified
Shorthand Reporter in and for the State of Illinois,
on October 19, 2006, at 9:41 a.m., at 70 West

Madison Street, Suite 4000, Chicago, Illinois.

BAKER, FENNELL & ASSOCIATES, INC.
CERTIFIED SHORTHAND REPORTERS .
P.O. BOX 0787
Chicago, IL 60690
312-386-1225 FAX: 312-386-1226

REPORTEDBY: KAYLA A. PAETSCH, CSR

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1 PRESENT: 1 INDEX
2 2 WITNESS: MARC McDERMOTT
HUGHES SOCOL PIERS RESNICK & DYM
3 By MR. JOSHUA KARSH 3 Page
60.West Madison Street, Suite 4000
4 Chicago, Tllinois 60603 4 EXAMINATION BY:
312.580.0100
5 5 MR. KARSH 4
appeared on behalf of the plaintiffs;
6 6 MR. HORWITZ 33
7 CITY OF CHICAGO, LAW DIVISION 7
By MS. NAOMI A. AVENDANO
8 30 North LaSalle Street, Suite 1020 8 EXHIBITS
Chicago, Illinois 60602
9 312.742.5113 9 Exhibit Nos. 1-2 marked 4
10 appeared on behalf of the defendant; 10 Exhibit Nos. 3-5 marked 6
11 11
BURKE BURNS & PINELLI, LTD.
12 By MR. VINCENT D. PINELLI 12
7 70 West Madison Street, Suite 4300
13 Chicago, Tllinois 60602 13
312.541.8600
14 14
appeared on behalf of the third-party
is defendant Firemen's Annuity and Benefit 15
Fund of Chicago;
16 16
17 SUGARMAN & HORWITZ 17
By MR. STEPHEN B. HORWITZ
18 221 North LaSalle Street, Suite 626 18
Chicago, Illinois 60601
49 312.629.2920 19
20 appeared on behalf of the third-party 20
defendant Chicago Firefighters Union
21 Local 2. 21
22 22
ALSO PRESENT:
23 23
Mr. Joel Burns
24 24
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1 (Deposition Exhibit Nos. 1-2 were marked a Numeral .I, deposition topics.
2 for identification.) kaye
3 MARC MCDERMOTT, ms
4 having been first duly sworn, was examined and “ae
5 testified as follows: as :
6 EXAMINATION “6 A °Y¥ cee .
7 BY MR. KARSH: 7 Q Okay. What if anything did you do to
4 Q Mr. Mebermott,. my name is Josh Karsh, and re 8 prepare for today's deposition?
16. _of the lawyers representing the}| 9 A I just reviewed the contract sections, some
‘| 10 ef the contract sections, and basically that's about
11 it.
] ey : . 12 Q Okay. You see Roman Numeral II asks for
And.-your. position with the union? 13 production of all documents relating to Roman
4 c Of ‘contract: énforcement.. : 14 Numeral I. Have you brought any documents with you?
: ; 15 MR. HORWITZ: We have some, yes.
16 MR. KARSH: Okay.
17 MR. HORWITZ: Do you have the contract?
18 MR. KARSH: I have -~ I don't think -- I
19 have 9927.
20 MR. HORWITZ: That's the one.
21 MR. KARSH: Okay, yeah.
22 MR. HORWITZ: And we have -- let's see. We
23 have the announcement for the fire engineer
p24 exam No. 32013.
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1 MR. KARSH: Okay. 1 Q Mr. McDermott, let me put in front ef you
,2 MR. HORWITZ: We have the announcement for 2 now what's been marked as Deposition Exhibit 2. Do
3 the lieutenant exam, 39903. 3 you recognize that document?
4 MR. KARSH: Uh-huh. 4 A Yes-
5 MR. HORWITZ: And I think that is it. We 5 Q Have you read that document?
6 do refer to ~- we have one -- another ~- a memo 6 A I believe I have at some point.
7 concerning the lieutenant promotional exam for 7 Q Okay. Does that document contain a
8 1999, but it's not the announcement. I thought 8 complete statement of the union's objections to the
3 I had the announcement here, but I guess TI 9 relief that plaintiffs seek in this case?
10 don't. I must have left it at the office. 10 A Yes.
il MR. KARSH: Okay. Are there any other a1 o- How: long have you: been an employee. of -~-..
12 documents responsive to Roman Numeral II? 12° Ly let ue . _° € a
13 MR. HORWITZ: That we -- not that I know 13.
14 of, no. 14 . oR. Vitam. :
1s MR. KARSH: Okay. 15 Q . And which entry level exam aid you
16 MR. HORWITZ: What we refer to in our p16 take? : Lou : , :
17 objections and all that, but that would be it. | {217 “CR phe’ 1985" exam.”
18 MR. KARSH: Okay. Let's get them on the 18 Q Okay. When did you graduate -- or when did
19 recora. Please mark the documents just handed 19 you enter the academy?
20 to me by Mr. Horwitz as Deposition Exhibits 3, 20 1987, August of '87.
21 4, and 5. 21 Q How long were you in the academy?
22 {Deposition Exhibit Nos. 3-5 were marked 22 A Approximately three months.
23 for identification.) 23 Q And where was your first station?
24 BY MR. KARSH: 24 A Truck 28 on 1901 North Damen Avenue.
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1 Q Any other members of your family also 1 A That's correct. I was elected.
2 €ixefighters for the Chicago Fire Department? 2 Q Did you participate in the most recent
3 A No, sir. 3 round of contract negotiations?
4 ° Have any been in the past? 4 A I did.
5 A No. 5 Q During your time in the firefighter rank,
6 Q Did you ever take an engineer's exam? 6 @ai@ you ever hold a second job?
7 A Have I taken an engineer's exam? 7 A Yes, I did.
8 Q Yes. 8 Q Okay. When and which jobs?
9 A I have not. 9 A I used to work for Arrow Motor Service
10 Q Did you ever take a lieutenant‘'s exam? 10 driving a truck, basically.
11 A I have. 11 Q Okay.
12 Q When did you take the lieutenant's exam? 12 A Approximately from 1987 through maybe ‘92,
13 A Approximately 1999, 1999 or 2000. 13 ‘93.
14 Q Have you been promoted to the rank of 14 Q Any other jobs while you were in the
is lieutenant? 15 firefighter rank?
16 A I have not. 16 A No, not really.
17 Q Where were you on the list? 17 Q Okay. What were your hours for Arrow?
18 A I'm No. 436. 18 A well, it was basically on my days off, you
19 Q When did you leave ranks to work for the 19 know, a couple -- two or three times a week, 8 to 4,
"20 union? 20 give or take.
21 A Approximately May -- May of '05, May lst, 21 Q And what was your hourly wage?
22 "OSs. 22 A Now you're really stretching it. I don't
23 Q And did you go directly to contract 23 remember.
24 enforcement? 24 Q More than minimum?

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Jodi Q Do you know people who were promoted to 1 judgment that they were insufficiently
\2 lieutenant or engineer before 54 months? 2 experienced, that they didn't have enough
3 A Yes. 3 incumbency to hold the position.
4 Q Do you know anyone who was ever demoted 4 MR. HORWITZ: You mean length of time?
5 after being promoted to lieutenant or engineer 5 MR. KARSH: Length of time.
6 because of a judgment that they were insufficiently 6 A Not that I know of.
7 experienced to hold that position? 7 BY MR. KARSH:
8 A Demoted, no. 8 Q Okay. Do you know of any engineer or
9 Q Okay. Do you know anyone who was ever 9 lieutenant who has ever had any action taken against
10 Gischarged from a lieutenant or engineer position 10 them based on a judgment that they were
11 because of a judgment that they were insufficiently 11 insufficiently experienced to be a lieutenant or
12 experienced to hold that rank? 12 engineer?
13 A Discharged from the job? 13 A I know of actions that have been taken
14 Q Yes. 14 against lieutenants and engineers --
15 A There's been many -- many people discharged 15 Q Sure.
16 from their job for various things. 16 A -- for things that they've done, judgments
17 Q Do you know of anybody who was specifically 17 that they've made --~
18 discharged because it was judged that they were 18 Q Yes.
19 insufficiently experienced to hold the rank of 19 A -- that they've taken action, that's
20 engineer or lieutenant? 20 correct.
21 MR. HORWITZ: Does that include people 21 Q Okay.
22 whose performance did not satisfy the city that 22 A If that's what you're asking.
23 they could properly perform the job? 23 Q No, I'm asking specifically if the action
24 MR. KARSH: Only if it was due toa 24 was based on the fact that they were insufficiently
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1 experienced to hold the position of engineer or L Q Okay. And who are the people that you know
2 lieutenant. 2 who were promoted to engineer or lieutenant before
3 MS. AVENDANO: Objection to form. 3 54 months?
4 A It's pretty hard to tell why that would be. 4 A I believe there was a Frank Rusello
Ss I mean, you could surmise that's their reason or you 5 (phonetic), and don't ask me to spell his name, I
6 could surmise it wasn't, you know. If they did 6 think a John Conroy (phonetic), just those two off
7 something -- if they made a judgment call that 7 the top of my head.
8 caused them to be disciplined, and it does happen 8 Q Okay . Do you know what Frank Rusello's
9 many, many times, one can certainly surmise that 9 rank is today?
10 maybe that person didn't have the experience or 10 A I think he's a captain.
11 time. 11 Q Do you know what John Conroy's rank is
12 BY MR. KARSH: 12 today?
13 QO Can you name any engineer or lieutenant who 13 A Lieutenant.
14 was promoted to that position before 54 months who 14 Q Did the fact that either one of them was
15 was disciplined for exercising a judgment? 15 promoted before 54 months as a firefighter in any
16 A I personally cannot name any, but I'm -- 16 way compromise their performance as a lieutenant or
17 I'm sure that there are some. I only know a couple 17 engineer?
18 myself, but I know that there's more people promoted||18 MR. HORWITZ: Object to the form of the
19 than I know personally. 19 question. You can answer it if you know -- if
20 Q Okay. You were not personally aware of 20 you know about it.
21 that ever having happened? 21 A Could you rephrase that again?
22 A Not -- because I was not on the executive 22 BY MR. KARSH:
{23 board at the time, so I wasn't privy to that 23 Q Sure, I want to know whether you know
information. 24 whether the fact that they were promoted before 54

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1 put in there originally.
2 Q But you weren't party to those
3 negotiations, right?
4 A I was not.
5 Q So you have no personal knowledge about
6 that?
7 MS. AVENDANO: Objection to form.
8 A I have personal knowledge of the fact that
9 I was a member who voted for the contract and who
10 understood the -- understood the reason for the
11 union to have that in there.
12 BY MR. KARSH:
13 Q And today you are here as a deponent
14 Q Okay. Could you identify any situation 14 representing the union.
15 generally? . 15 A Yes.
16 A Generally there are situations that occur 16 Q Okay. Do you know for a fact what the
17 on thé. fire scene that are indicative of someone who||17 yeason for introducing a 54 requirement was?
18 may not have enough experience -- 18 A I know what was explained to me as a member
19 Q Uh-huh. 19 from the executive board at the time, and what was
20 A -- to hold that position. 20 explained to me was that that was the reasoning.
21 Q But you have no specifics for 54 months? 21 Q Which is what? What was the reason that
22 A Not specifics. 22 was explained to you?
23 Q Okay. 23 A That experience is very important, ana@
24 A I do imagine that's why the 54 months was 24 promotions on the fire department are very different
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— PAGE 32 -—— PAGE 33
Page 32 Page 33
1 than promotions in maybe another corporate world or 1 A Gives you preferences for vacation,
2 another type of field. Promotions should be -- 2 furlough picks.
3 should not be taken lightly. They are very serious 3 Q Uh-huh.
4 because it is a very serious safety hazard. There's 4 A i£ you have somebody -- if you're more
5 many studies that the first three minutes on a fire 5 senioxy to somebody. It also gives you seniority
6 scene is going to determine if you did the right or 6 points towards promotional exams. It gives you
7 wrong thing in the outcome. And it’s very, very 7 preferences on choosing spots to -- if you want to
8 serious when you have somebody with no experience 8 change firehouses, transfer.
9 who may get promoted for various reasons or not 9 Q Anything else?
10 experienced or for whatever the reason is that they, 10 A Of course -~ if there's a need for acting
il you know, don‘t have that amount of time on a job. il out, of course seniority would take precedent for
12 It's very -- it could be very detrimental. 12 the reasons described earlier. That's about all I
13 Q And when you said promoted for various 13 ean think of at the moment.
14 reasons, what other reasons are people promoted for? 14 MR. KARSH: I have no further questions.
15 A There's affirmative action promotions, 1s MR. HORWITZ: I just have a few.
16 there's performance selection promotions. 16 EXAMINATION
17 Q Uh-huh. What's a performance selection 17 BY MR. HORWITZ:
18 promotion? 18 Q Getting back to the last question that
19 A We call it a merit promotion. It's in the 19 Mr. Karsh asked you about what benefits you derive
20 contract. 20 from seniority, in the promotional process, does
21 Q And I think we're now on the last topic. 21 seniority play a factor?
22 What opportunities and perks does seniority control 22 A Yes, I think I said that.
23 in the fire department? Greater seniority gives youl] 23 Qe Okay.
24 what rights? 24 A You get points for --
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1

IN THE UNITED STATES DISTRICT COURT
FOR THE NORTHERN DISTRICT OF ILLINOIS
EASTERN DIVISION

ARTHUR L. LEWIS, JR., et al., )
)
Plaintiffs, )
)
VS. ) No..98 C 5596
) Hon. Joan B.
CITY OF CHICAGO, ) _Gottschall

)
Defendant. )

The deposition of Defendant CITY OF
CHICAGO, by and through its designated

representative, DEREK JACKSON, taken pursuant to-
Federal Rule of Civil Procedure 30(b)(6), taken
before Charles R. Zandi, CSR, FCRR, a Certified
Shorthand Reporter in the State of Illinois, at

70 West Madison Street, Suite 4000, Chicago,
Illinois, on the 6th day of September, 2006, at the
hour of 1:00 p.m.

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REPORTED BY: CHARLES R. ZANIDI, CSR, FCRR

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PAGE 10 —— PAGE 11
[ 10 11
1 Q Okay. How long was that meeting? 1 A I said I don't know.
2 A I don't know. 2 Q Is it your testimony that you can give
3 Q When was that meeting? 3 no description of the length of the meeting?
4 A Yesterday or the day before yesterday. 4 A That's correct.
5 Q Can't remember which it was? 5 MS. AVENDANO: Objection to --
6 A Maybe it was yesterday or the day before 6 BY MR. KARSH:
7 yesterday. 7 Q Did you review any documents during that
8 Q Day before yesterday was Labor Day. 8 meeting?
9 A Labor Day, so it had to be yesterday. 9 A No.
10 Q Yesterday. How long did you meet for? 10 Q Were any documents or portions of
ll MS. AVENDANO: Objection. Asked and answered. |/11 documents read to you during that meeting?
12 He said he doesn't know. 12 A No,
13. BY MR. KARSH: 13 Q Who did you meet with?
14 Q How long did you meet for, sir? 14 A Who or --
15 A, I don't know. 15 Q Yes.
16 Q Was it more or less than an hour? 16 A You want a name?
17 A I said I don't know. 17 Q Yes.
18 Q  TIunderstand. Do you -- 18 A Naomi Avendano.
19 A I said I don't know. 19 Q Okay. Was anyone else present?
20 Q Do you know whether it was more or less 20 A I think the attorney next --
21 than an hour? 21 Q Mr. Robling?
22 A I said I don't know. 22 A -Robling. I can't remember his name.
23 Q Do you know whether it was more or less 23 Q Was anyone else present?
24 than half an hour? 24 A No, I don't think so, no.
i PAGE 12 -— PAGE 13
12 13
1 (Whereupon, Mr. Piers entered 1 function, is that correct?
2 the deposition proceedings.} 2 A That's correct,
3 MR. KARSH: Let me break for a moment. 3 Q And you had oversight over the training
4 (Discussion held off the record.) 4 division, is that correct?
5 MR. KARSH: Back on the record. 5 A= That's correct.
6 BY MR. KARSH: 6 Q. .. Has. your job title or have your
1 . Qo. Mr, Jackson, you were last deposed in “7. assignments chang a -since then?
8. this case in ‘March of 2002. If T remenber _ Bk “Yes, it} as.
Qe correctly, at. that: ‘point, you: were the: deputy. fire 9 ° Q Okay. “What. is your: current. job title?
'10. . -commissionér: for. ‘adninistrative services, is. ‘that TPL. “AP Tm the: deputy: fre: commissioner of
11. -correct? - : lV 11 employee relations. — :
122° «A On 9002, ‘yes, ‘T vas. v Q. And. what. are. your sob. duties and
13 Q Okay. And at that point in time, I think 2B assignments ‘in ‘that: role?- .
14 in that capacity, you had oversight over labor 14 ‘AL I'm: over. Tabor. ‘relations, employee ~
15 relations? 15 relations, contract enforcement,” and human ee
16 A That's correct. 16. relations. And I'm still on the. ‘pension ard.
17 Q Medical? 17 I'n. still the: president. of Hie: Fireman’ 's: Pension
18 A That's correct. 18 Fund.
19 Q =‘ Finance? 19 Q Okay. And to the extent that your. job
20 A That's right. 20 today involves labor relations and contract
21 Q I think finance was subsequently removed 21 enforcement, did you also have those duties when
22 and given to someone else, is that correct? 22 you were deputy commissioner for administrative
23 A That was correct, yes. 23s services?
24 Q Okay. You also had oversight over the HR || 24 A Yes, um-hun. ~

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—— PAGE 46 —— PAGE 47
46 4]
1 officers who have ideas, bring them to training, and|| 1 have 54 months in grade as a firefighter before he
2 say, "I'd like to see this training take place." 2 can be -- he or she can be promoted to the position
3 And this was a vehicle which the union 3. of lieutenant?
4 allowed us to do. We negotiated so that we could 4 A You have to have 54 months in the grade
3 bring select groups of individuals down instead of 5 of firefighter and/or engineer before you can be
6 bringing the whole apparatus down. 6 promoted to lieutenant, yes. Yes, sir,
7 Q Yes. And do you bring in select 1 Q And how long have you been with the fire
8 individuals for the purpose of giving them training 8 department?
9 to become a lieutenant or a higher officer rank? 9 A 28 years.
10 A No. No, we don't, 10 Q When you started with the fire department,
11 Q Okay. 11 did that 54-month requirement exist?
12 A No, we don't. As a practice, no, we 12 A No.
13 don't. 23 Q What was the requirement -- the
14 Q What is the City's position with respect 14 time-in-rank requirement for promotion to lieutenant
15 to how seniority dates should be determined for the ||15 at the time you came in to the department?
16 132 class members who will be hired? 16 A That's a long time ago. I don't -- I
17 A I don't know. I -- 17 don't remember. I knew you couldn't be a candidate
18 MS. AVENDANO: I'm going to object as to the 18 and get promoted to lieutenant, but other than that,
19 extent it calls for any legal arguments. 19 I don't remember being any -- I just don't remember
20 ~=BY THE WITNESS: 20 if there was any.
al A IT really don't know anything about that. 21 Q Do you remember that during your tenure
22 BY MR. KARSH: 22 with the fire department, for a while, the
23 Q Okay. Are you aware of the provision in 23 requirement was 12 months?
_|24 the labor contract that requires a firefighter to 24 A Yes, it was 12 months, because candidacy
LL pace 48 —— PAGE 49
48 49
1 at that time was 12 months. Probationary period was{| 1 necessarily -- there wasn't a provision, as I
2 12 months. 2 remember, the only thing I can remember is you could
3 Q Okay. And at that time, did that mean 3 not get promoted or take an exam while you were a
4 that once you were out of your probationary period, 4 probationary employee. That's what it was.
3 which was 12 months, you were immediately eligible 5 Q Okay.
6 for promotion to lieutenant if you passed a 6 A There wasn't anything that --
7 promotional examination? 7 Q There was no time-in-rank requirement?
8 A Yes, yes. 8 A Years ago, no, there was not.
9 Q At some point, the requirement was 9 Q Okay. When did that change?
10 lengthened beyond 12 months. Do you know what it 10 A It wasn't this contract. It wasn't the
11 was lengthened to? 11 one -- this one. I think it was the contract before
12 A Which one are you talking about? 12 this one we negotiated, the '95 to '99 contract, I
13. Probationary period or -- 13 believe.
14 Q No, no. Let me make sure that I've 14 Q Okay. And when it changed, did it change
15 understood your testimony. Ag I understand what 15 to 54 months, or was there an intermediate step?
16 you've just said, that there was a period in time 16 Wasn't there a time where the time-in-rank
17 = during your employment with the fire department 17 requirement for promotion to lieutenant was
18 that the time-in-rank requirement for promotion to 18 30 months?
19 lieutenant was the same as the probationary period. || 19 A No, I don't remember that. There was a
20 After you finished the probationary period of 20 combination change. There was a combination where
21. 12 months, you could become a lieutenant if you 21 we put in the 54 months for an engineer or fireman
22 passed the appropriate examinations. Am I 22 to become a lieutenant, and then there was the
23 understanding you correctly? 23. 30 months between lieutenant and captain or a
24 A In the labor agreement, there wasn't 24 captain to battalion chief. That was put into the

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—— PAGE 50 PAGE 51
50 [ 51
1 contract at the same time. 1 Q What is your understanding?
¥2 Q Okay. Was there a time-in-rank 2 A They wanted to -- they wanted to be able
3 requirement for promotion to lieutenant that was 3 to have seniority to mean more than just the
4 ever shorter than 54 months? 4 12 months. They were concerned that we were
5 MR. PIERS: Other than the 12-month 5 promoting to lieutenant and/or captain, chief, a
6 probationary period. 6 lot of younger employees who were not seasoned,
7 BY MR. KARSH: 7 and that because someone did well on an exam and
8 Q Other than the 12-month probationary 8 will answer the oral questions correctly was not
9 period, right. 9 necessarily the best candidate for the job.
10 A Not that I can ever remember. Now that 10 Q Okay.
11 right now I'm thinking about it, no, I don't 11 A That was their -- basically their
12 remember any other time, other than the probationary||12 position.
13. time period. No, I don't remember any. 13 Q And that's on the basis of things that
14 Q Were you involved in the negotiation of 14 they stated?
15 the '95 contract? 15 A Yeah. That was their -- the union's
16 A Yes. 16 always pro-seniority.
1] Q Who brought to the table in those 17 Q Prior to the '95 contract, are you aware
(18 = negotiations the concept of introducing a 18 of anyone who was promoted to the rank of lieutenant
19 time-in-rank requirement for promotion to 19 who, as a result of being promoted before 54 months,
20 = lieutenant? 20 in your opinion, had performance problems?
a1 A I think it was Local 2. 21 MS. AVENDANO: Objection to form and
22 Q Okay. Do you have an understanding of 22  ~=foundation,
23 why Local 2 brought that issue to the table? 23. BY THE WITNESS:
24 A Yes, 24 A I couldn't answer that question. I don't
¥ pacE 52 —— PAGE 53
52 53
1 know. 1 did the City -- had the City identified anyone whom
2 BY MR. KARSH: 2 it believed -- had the City identified any need for
3 Q As you sit here today, can you think of 3 a time-in-rank requirement before the union put
4 anyone who should not have been promoted to 4 that issue on the table in the 1995 contract
5 lieutenant before 54 months before 1995? 5 negotiations?
6 MS. AVENDANO: Same objection. Speculation. 6 A It's hard to answer that question, because
7 BY THE WITNESS: 7 in negotiations, there's a give-and-take type of
8 A That would be speculating. I don't know. 8 thing. So, to say that we had identified something,
9 I mean, I'm sure there were guys that maybe I can 9 they gave a proposal. We negotiated with them, and
10 think of that may -- but I don't know. 10 = that's what we came out with.
11 BY MR. KARSH: 11 I will tell you that their original
12 Q Can you think of anybody right now? 12 proposal wasn't 54 months. It was much higher
13 A No. 13 than the 54 months, but I don't remember what
14 Q Okay. 14 it was. We settled in on 54 months, but it was
5 A No. 15 higher than that.
16 Q As a negotiator for the City on the 1995 16 Q Am I right that coming in to the
17 contract, let me ask you, had the City identified 17 negotiations, the City didn't have on its wish
18 any performance problems related to not having a 18 list putting a time-in-rank requirement into the
19 time-in-rank requirement for promotion to lieutenant |}19 contract for promotion to lieutenant?
20 before the negotiation of the '95 contract? 20 A Twon't say that. I don't remember.
gi A I don't remember. I don't -- I really 21 We may have, but I really don't remember.
22 don't remember if we had -- did a study or anything |! 22 Q Does the City come into contract
23. like that. I really don't remember. 23. negotiations with a list of things that it wants
24 Q Okay. Regardless of having done a study, ||24 to achieve in the upcoming contract?

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EXHIBIT
C
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1
IN THE UNITED STATES DISTRICT COURT

FOR THE NORTHERN DISTRICT OF ILLINOIS 26
EASTERN DIVISION -

ARTHUR L. LEWIS, JR., et al..

) L_.

, )
| Plaintiffs,

. VS. . . ) No..98 C 5596

) Hon. Joan B.
CITY. OF CHICAGO, ) Gottschall

. )
Defendant. )

The deposition of Defendant CITY OF.
CHICAGO, by and through its designated
representative, DEREK JACKSON, taken pursuant to
Federal Rule of Civil Procedure 30(b) (6), taken
before Charles R. Zandi, CSR, FCRR, a Certified
Shorthand Reporter in the State of Illinois, at-
| 70 West Madison Street, Suite 4000, Chicago,
‘Illinois, on the 6th day of September, 2006, at the
hour of 1:00 p.m.

BAKER, FENNELL & ASSOCIATES, INC. EXHIBIT
CERTIFIED SHORTHAND REPORTERS
P.O. BOX 0787 - CO

Chicago, IL 60690
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REPORTED BY; CHARLES R. ZANDI, CSR, FCRR

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—— PAGE 14 —. PAGE 15

14 5
j 1 Q Okay. Have those duties expanded or 1 been back in the field instead of in administration?
} 2 contracted in any way, or you have the same duties 2 A I'm always back in the field. I think

3. but a different title today? 3. what you're trying --

4 A Same duties, different title. 4 Q Have you ever ~-- have you been in a

5 Q Okay. Are you no longer assigned 5 position that was not an exempt rank?

6 medical? 6 A I don't quite understand what you mean.

7 A No, medical is not under my command 1 Q Go ahead. You were about to say --

8 anymore. 8 A All exempt rank title -- and I'm just

9 Q And are you no longer assigned training? 9 trying to clarify.

10 ‘A Training is not under my command anymore. || 10 Q Yes,
11 Q Is there anything under your command now 11 A We're all in the field. We all respond to
12 that was not under your command when you were deputy||12 stuff. I think -- but I think what you're asking me
13. commissioner for administrative services? 13 is what?
14 A No. 14 Q Have you been in an exempt rank since
15 Q Were there any steps in between the two 15 2002?
16 job titles? That is, in 2002, you were deputy 16 A Yes, yes. I've always -- yes, since
17 commissioner for administrative services. Now 17 2002, yes, I've been an exempt title.
18 you're deputy commissioner for employment relations. || 18 Q You have not been returned to a post as
19 Did you have any job title between the two? 19 battalion chief at any point during that time?
20 A No, I didn't. 20 A Oh, no, no, no. I'm sorry. No, I have
21 Q When was your job title changed to 21 not.
22 employment relations? 22 Q Okay. Do you have an understanding --
23 A Probably June ‘04, 23 well, let me start this question this way: One of
24 Q Okay. At any point since 2002, have you 24 the forms of relief the plaintiffs request in this
L. pace 16 _. PAGE 17
16 7

1 case is that there be a hiring of 132 additional 1 MR. KARSH: Okay. Are you planning to

2 African-Americans into the fire department. Those 2 designate somebody with respect to that topic?

3. would be people who took the 1995 firefighter 3 MS. AVENDANO: I'm not sure.

4 examination and scored 65 or above but less than 89. || 4 MR. KARSH: Okay. I'm going to ask him the

5 In your parlance, I think you'd refer to those folks|| 5 questions. You can have your objection.

6 as the qualified pool. Okay? 6 MS. AVENDANO: And I'm going to tell him not

7 So, one of the forms of relief we seek is 7 to answer. It's outside the scope of what we have

8 the hiring of 132 additional African-Americans from 8 designated him for.

9 that qualified pool. Okay? 9 MR. KARSH: I am entitled to ask the question.
10 A Okay. 10 Your objection is on the record. What is your basis
11 Q All right. In order to identify 132 11 for an instruction not to answer?

12 African-Americans who would have those positions, 12 MS. AVENDANO: Because under 30(b} (6), a

13 we are going to have to make a list of 13 corporation can designate witnesses for certain

14 African-Americans who took the test and are still 14 topics. If it takes more than one witness to answer
15 eligible for hire. 15 the 30(b) (6) notice --

16 A Okay. 16 MR. KARSH: When do you plan to somebody for
17 Q Does the City have a position with respect ||17 additional topics?

18 to how that list should be constructed? 18 MS. AVENDANO: If we're going to designate

19 MS. AVENDANO: I'm going to object that that's |/19 someone, we'll do it by the end of this week.

20 outside the scope of our objections. As I was 20 MR. KARSH: Okay.

.21 saying before I was cut off, the City can designate || 21 BY MR. KARSH:

22 the people to testify to certain topics in the 22 Q Sir, do you have a position with respect
23 30(b) (6). That's not one of the topics that we've 23 to how that list of -- that list should be

24 designated Chief Jackson for. 24 constructed from which we would then choose 132

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—— PAGE 18 —— PAGE 19
18 19
1 people? 1 MS. AVENDANO: I'm going to object that it's
+2 MS. AVENDANO: Objection. I'm instructing him 2 outside the 30(b) (6) and his designated capacity to
3. not to answer. 3. answer this 30(b) (6) notice.
4 MR. KARSH: I'm not asking him to testify as a 4 MR. KARSH: Objection noted.
2 representative of the City. I asked if he has an 5 BY MR. KARSH:
6 opinion. 6 Q You may answer, sir.
7 MS. AVENDANO: This is a 30(b}(6) notice. 7 A I have no answer to that.
8 MR. KARSH: 30(b) (6) does not limit questions 8 Q You do not have a position?
9 in an individual capacity. The law is quite clear 9 A No. I have no answer to that.
10 on that, 10 Q Well, I'm unclear what your response is.
11 MS. AVENDANO: You just told him at the 11 Is your response, "I have no position," or is your
12 beginning that all of his testimony today is in his || 12 response, "I can't answer that question"?
13 official capacity as a representative of the City. 123 A My response is I have no answer to that
14 MR. KARSH: What I told him is it is in his 14 question.
15 official capacity unless I say otherwise in the 15 Q Okay. What is it about the question that
16 question. In this question, I have said otherwise. ||16 makes it that you don't have an answer?
17 And the law allows me to ask him a question as a 17 A Nothing. I just don't have an answer
18 fact witness in a 30(b)(6) deposition. I am now 18 for it,
19 doing that. 13 Q Because you don't have an opinion? Is
20 BY MR. KARSH: 20 that the reason?
ai Q Sir, do you have an opinion as to how we 21 A I don't have an answer.
22 should go about constructing a list of qualified 22 Q Why don't you have an answer?
23. African-Americans from which we would then wind up 23 A Because I don't have an answer.
24 with a list of 132 to be hired? 24 Q Very well,
| pace 20 —— PAGE 21
, 20 21
1 MS. AVENDANO: I'm going to object that this 1 page 2.
2 is -~ besides being ridiculous, but that's not a 2 A Okay.
3 good objection, simply outside the scope. 3 Q Okay?
4 MR. KARSH: Very well. Your objection is 4 A Yes, I have it.
5 noted. 5 Q All right. One of the things that the
6 MR. PIERS: Time out. 6 plaintiffs request in this case is that within
7 (Recess had.) 7 130 days after the Court enters an order providing
8 MR. KARSH: Let's mark Deposition Exhibit 8 for the hiring of 132 people, that the City should
9 No. 2, 9 offer people who have then passed the physical
10 (Jackson Deposition Exhibit No. 2 was}|10 abilities test, the background check, the drug
1 marked for identification, as of 11 screen, the medical examination, an offer of
12 9/6/06.) 12 employment. Okay?
13 BY MR. KARSH: 13 As you see here in the first paragraph
14 Q Sir, I've put in front of you what has 14 of -- the first sentence of A-3, the City objects
15 been marked as Deposition Exhibit No. 2. Have you 15 that 120 days is not long enough and that the
16 ever seen that document before? 16 period should be 180 days. Do you know what the
17 A No. 17 basis for that objection is?
18 Q Okay. If you would turn, please, to 18 MS. AVENDANO: I'm going to object again. Are
19 page 2 of that exhibit, and on page 2, to 19 you asking him now for his personal opinion?
20 paragraph A-3. 20 Because he's certainly not a 30{b) (6) witness on
121 A Excuse me? What did you say? 21 ~=this issue,
22 Q To paragraph A-3. 22 BY MR. KARSH:
23 A No. 3? 23 Q Sir, do you know what the basis for that
24 Q Yes, it is the paragraph numbered 3 on 24 objection is?

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—— PAGE 22 —— PAGE 23
22 23
1 MS. AVENDANO: Josh, are you asking him in his 1 BY MR. KARSH:
2 individual capacity or his official capacity as a 2 Q Are you familiar?
3. City official? Because it makes a difference. 3 MS. AVENDANO: Yeah, it does, because it
4 MR. KARSH: Right now, I'm asking him in his 4 depends on the scope of the question and where
5 capacity as a City official. 5 you're going --
6 MS. AVENDANO: Then I object, and I'm 6 BY MR. KARSH:
7 instructing him not to answer, because it's outside 7 Q Are you familiar with the training of -
8 of the scope of what we designated him for. 8 recruits and cadets, sir?
9 MR. KARSH: I'm now asking him in his personal 9 MS. AVENDANO: Objection.
10 = capacity. 10 BY THE WITNESS:
11 BY MR. KARSH: li A Do I know they train cadets? Yes, I know
12 Q Do you know what the basis is? 12 they train cadets.
13 A I'm not answering it. I don't know. 13. BY MR. KARSH:
14 Q Okay. You are familiar, are you not, 14 Q Okay. And are you familiar with the steps
15 from your long experience in the department, with 15 that cadets go through for screening before they are
16 training of cadets and recruits? 16 offered employment at the academy?
17 MS. AVENDANO: Objection. Outside the scope 17 MS. AVENDANO: Objection to form, foundation,
18 of the designation. 18 and whether or not it's in his individual or
19 BY MR. KARSH: 19 official capacity.
20 Q Are you familiar? 20 BY THE WITNESS:
21 MS. AVENDANO: And you're asking him in his 21 A No, I don't -- I don't really -- I don't
22 individual or official capacity? 22 do this anymore, so it's not under my command. So,
23 MR. KARSH: You know, for the question, "Are 23. I don't know what they do now.
24 -you familiar," it doesn't matter. 24
PAGE 24 _ PAGE 25
24 25
1 BY MR. KARSH: 1 offered a position at the academy?
2 Q Yes. You have previously testified in 2 A I would only be assuming. I assume they
3. this case that the steps are as follows: First, 3 are, but I don't know for certain because it's not
4 not necessarily in this order, all recruits are 4 under my command anymore.
5 given a physical abilities test. That is true, 5 Q Are you aware of whether they are
6 correct? 6 administered a medical examination?
] A I-- 7 MS. AVENDANO: Same objections,
8 MS. AVENDANO: Same objections. 8 BY THE WITNESS:
9 BY THE WITNESS: 9 A I really don't know. I can't answer that
10 A I'm not in that command anymore, so I 10 = question.
11 really can't answer for what they do now, It's not |/11 BY MR. KARSH:
12 under my jurisdiction anymore, so I would just 12 Q Are you aware of whether they are given a
13 speculate on what they do. 13 drug test?
14 BY MR. KARSH: 14 MS. AVENDANO: Same objections.
15 Q Are you aware of whether recruits today 15 BY THE WITNESS:
16 are given a physical abilities test before they're 16 A I don't know. It's not under my command,
17 offered employment at the academy? 17 BY MR. KARSH:
18 MS. AVENDANO: Same as all of my previous 18 Q Are you aware of whether they are given a
19 objections. I also want to note that when he was 19 background check?
20 deposed back in 2002, he was in administrative 20 MS. AVENDANO: Same objections.
21. services, so he did have that knowledge. 21 BY THE WITNESS:
| 22 BY MR. KARSH: 22 A I don't know. You'd have to -- it's not
23 Q Are you aware of whether recruits today 23. my command.
24 are given a physical abilities test before they are || 24

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PAGE 26 —— PAGE 27
[ 26 27
1 BY MR. KARSH: 1 seniority within the fire department, what is
; 2 Q Okay. Once all of those checks have been 2 the date of hire for a new firefighter?
3 administered and a recruit has passed all of those 3 A For purposes of seniority, what is the
4 checks, are you aware of anything else that has to 4 date of hire? What does it signify? What does it
2 be done before they can be offered a position at 5 mean?
6 the academy? 6 Q No. When ~-- what date is the date of
7 MS. AVENDANO: Same objections. 7 hire?
8 BY THE WITNESS: 8 A The date they come in to the academy,
9 A I really don't know. 9 Q Okay. Does the City have any objection
10 BY MR. KARSH: 10 to giving plaintiffs in this case an award of
M1 Q Okay. If a recruit is given all of those ||11 retroactive seniority upon their hire into the
12 checks and passes them, do you know of any reason 12. department?
13. why it would take 180 days rather than 120 days 13 MS. AVENDANO: Objection to the extent it
14 before the department could offer them employment? 14 calls for a legal conclusion.
15 MS. AVENDANO: Objection to outside the scope 15 BY THE WITNESS;
16 of the notice, form, and foundation. 16 A I wouldn't know. I'm not involved in
17. «BY THE WITNESS: 17s that. I don't know that.
18 A I really don't know. 18 BY MR. KARSH:
19 BY MR. KARSH: 19 Q What purposes is seniority used for within
20 Q For purposes of seniority in the fire 20 the fire department?
21 department, what is a new firefighter's date of ai A Pursuant to the labor contract, seniority
22 hire? 22 is used for -- once you're a non-probationary
23 A Could you say that again? 23 employee, it's used for picking assignments.
24 Q Yes. For purposes of calculating 24 Seniority is somewhat used in the calculations for
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28 29
1 when you're taking a promotional exam. Seniority 1 assigned to.
2 is used for picking of furloughs or vacation 2 Q Are there separate assignments for company
3. periods. 3 and for fire apparatus?
4 Those are the three major areas I can 4 A Fire apparatus and company is the same
5 think of right off. 5 thing. I shouldn't be intertwining -- apparatus
6 Q Okay. When you say for the picking of 6 could be an engine or truck, and each engine or
7 assignments, what kinds of assignments, and what 7 truck or squad is a company within itself. So, when
8 does that mean? 8 you say Engine 1, it's Engine 1 company, or you can
9 A Pursuant to the labor contract, once 9 call it an apparatus, but it's a company to itself.
10 you're a non-probationary employee, you are -- you 10 Q How many companies are there to a station
11 can pick assignments. We have open bids for open 11 house?
12 assignments three times a year, and individuals can || 12 A It depends on the station house. Some
13. apply or put in a request for a vacancy if they 13. station houses are small, where they just have one
14 meet the requirements; and unless it's an asterisk 14 apparatus or fire company there; or some firehouses
15 position where you need specific requirements, 15 are larger that may have an engine, truck, squad,
16 individuals are given assignments based on their 16 an ambulance, a command van. It depends on how big
17 overall seniority as they bid on them. 17 the firehouse is. So, it could have multiple
18 Q And when you say assignments, what does 18 companies or up to one or two.
19 that mean? What is an assignment? 19 Q So, if I am past my nine-month
20 A An assignment is your -- is where, 20 probationary period and I am bidding one of these
.21 pursuant to 16-7 in the contract, it talks about 21 three times a year for a vacant position, am I
"22 where you are -- where you are -- where you -- 22 bidding for more than a station house? Am I also
23. where your paperwork or where you're assigned to, 23 bidding for a particular vehicle within that station
24 what company or fire apparatus you're actually 24 house?

